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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

OLIVIA Y., et al

Plaintiffs

v.                                                       CIVIL ACTION NO. 3:04cv251 TSL-FKB

PHIL BRYANT,as Governor ofthe
State of Mississippi, et al.,

Defendants


                           DEFENDANTS'RESPONSE AND
                            OBJECTIONS TO PLAINTIFFS'
                          AMENDED MOTION FOR RELIEF
                         PURSUANT TO REMEDY PHASE OF
                        PLAINTIFFS' RENEWED MOTION FOR
                         CONTEMPT,FOR AN EVIDENTIARY
                              HEARING,AND FOR THE
                           APPOINTMENT OF A RECEIVER

        Defendants respond to the Plaintiffs' Amended Motion For Relief Pursuant To Remedy

Phase Of Plaintiffs' Renewed Motion For Contempt, For An Evidentiary Hearing, And For The

Appointment Of A Receiver [ECF No. 849] ("Plaintiffs' Contempt/Receivership Motion") as

follows:

        For the second time in the last 13 months, Plaintiffs are demanding that the Court hold

Defendants in civil contempt and then force the Mississippi Department of Protection Services

("MDCPS") into a receivership under an unidentified receiver with full authority to administer

 Mississippi's foster care system, including any and all authority previously vested in the Office

 of Governor or any other executive branch of the government of the state of Mississippi, for an

 indefinite period, at an unknown cost, and with no assessment of the impact of such a radical

 remedy on the MDCPS work force or the provision of services to children in the Olivia Y class.
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The Plaintiffs also demand that the Receiver be granted authority to supersede and ignore all

state laws relating to governing lines of authority, budgeting, governmental structure and

organization, procurement, and personnel.

       Plaintiffs' stated purpose for the appointment of a Receiver is to ensure full compliance

with the 113 commitments in the 2nd Mississippi Modified Settlement Agreement("2nd MSA")

that was entered as a Consent Order on December 19, 2016, in an expeditious and cost effective

manner. This extraordinary relief should be imposed, in the Plaintiffs' view, due to MDCPS's

failure to achieve all of the commitments in the 2nd MSA and the spurious claim that the current

MDCPS's leadership is in chaos and is unwilling and incapable of managing MDCPS and

meeting these commitments.

       Both demands should be rejected. A contempt finding serves no valid purpose and there

is no factual or legal basis for transferring control of MDCPS to a Receiver with no evidence

other than conjecture that the Receiver would improve foster care in Mississippi or achieve the

commitments in the 2nd MSA and with no evidence whatsoever that the current, highly qualified

MDCPS leadership is unwilling and incapable of managing MDCPS. Instead, in light of the

accomplishments, improvements and progress that the Defendants have made in the delivery of

foster care services after entry of the 2nd MSA, after overcoming significant financial and

funding obstacles, the Court should reject both demands.

       The Defendants adopt and incorporate in this Response Defendants' Memorandum of

Authorities in Support ofthe Response and Objections to Plaintiffs' Amended Motion for Relief

Pursuant to Remedy Phase of Plaintiffs' Renewed Motion for Contempt, for an Evidentiary

Hearing, andfor the Appointment ofa Receiver and the exhibits referenced in the Memorandum.

A list ofthe exhibits is attached.



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       In addition, the Defendants incorporate in this Response any additional exhibits filed in

support of Defendants' Response To Plaintiffs' Motion For Relief Pursuant To Remedy Phase Of

Plaintiffs' Renewed Motion For Contempt, For An Evidentiary Hearing And For Appointment of

Receiver [ECF No. 754] and Defendants' Motion For Relief Under Section 11.2.a. of the 2nd

Modified Settlement Agreement And Reform Plan And Rule 60(b0 of the Federal Rules of Civil

Procedure [ECF No. 756].

      RESPECTFULLY SUBMITTED,this the 3rd day of September, 2019.

                                           PHIL BRYANT,as Governor ofthe State of
                                           Mississippi, JESS H. DICKINSON,as
                                           Commissioner, Mississippi Department of Child
                                           Protection Services, and TRACY MALONE,as
                                           Deputy Commissioner of Child Welfare,
                                           Mississippi Department of Child Protection
                                           Services

                                            By: /s/ James L. Jones


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             EXHIBIT LIST FOR DEFENDANTS'RESPONSE TO
PLAINTIFFS'AMENDED MOTION FOR RELIEFPURSUANT TO REMEDYPHASE OF
   PLAINTIFFS'RENEWED MOTION FOR CONTEMPT,FOR AN EVIDENTL4RY
          HEARING,AND FOR THE APPOINTMENT OFA RECEIVER



Exhibit     Date                        Description                      Reference Name
 No.
          08/06/2015 (Revised 02/17/2016)Fiscal Year 2017 Budget         SFY-2017 Revised
  A
                     Request Summary Page: MDHS DFCS                     Budget Request
          11/24/2015 Organizational Analysis - MDHS-DFCS: Prepared       Organizational
  B
                     by Public Catalyst                                  Analysis by PC
          05/16/2016 House Bill No. 1652(As Sent to                      SFY-2017
                     Governor): Fiscal Year 2017(7/1/2016 to             Appropriation
                     6/30/2017) An Act Making An Appropriation To
  C
                     The Department of Human Services And For
                     Related Purposes For The Fiscal Year
                     2017Appropriation
          05/25/2016 MDCPS - Recruitment, Hiring and Retention Plan      2016 Recruitment
  D
                                                                         Plan
          07/27/2016 Memo from Takesha Darby to Joey Songy &             7/27/16 Darby
  E
                     Brian Pugh; Re: SFY2018 Budget Justification        Memo
          08/01/2016 (Revised 9/13/16) Fiscal Year 2018 Budget           SFY-2018 Budget
  F
                     Request Summary Page: MDCPS                         Request
  G       12/19/2016 Stipulated Third Remedial Order(Doc 713)            STRO
          12/19/2016 2nd Modified Mississippi Settlement Agreement       2nd MSA
  H
                     and Reform Plan(Doc 712)
          03/31/2017 Memo from Public Catalyst re 2017 Caseload         PC 2017 Caseload
   I                 Performance Targets                                Performance
                                                                        Targets
          04/13/2017   House Bill No. 1513(As Sent to Governor): An     SFY-2018
                       Act Making An   Appropriation  To The Department Appropriation
   J
                       of Child Protection Services; And For Related
                       Purposes For Fiscal Year 2018
          08/31/2017   (Revised 9/14/17) Fiscal Year 2019 Budget        SFY-2019 Budget
  K
                       Request  Summary   Page: MDCPS                   Request
          02/20/2018   Revised Fiscal Year 2018 (7/1/2017 to 6/30/2018) SFY-2018 Revised
  L
                       Budget Request:                                  Budget Request
          03/05/2018   Correspondence from Marcia Lowry to Kenya        Notice of Non-
  M                    Rachal; Re: Notice of Non-Compliance re          Compliance
                       Caseload Performance
          04/12/2018   House Bill No. 1600(As Sent to Governor): An     SFY-2019
                       Act Making An Appropriation to the Department    Appropriation
  N
                       of Human Services; And for Related Purposes, For
                       Fiscal Year 2019
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Exhibit      Date                        Description                       Reference Name
  No.
          05/31/2018 Larrison Campbell, Olivia Yplaintiffs to Bryant:      Campbell Article —
  0                  Replace CPS head or go to court, Mississippi          5/31/18
                     Today(May 31, 2018)
          08/01/2018 In-Circle Y1 Analysis                                 2018 In-Circle
  P
                                                                           Analysis
          08/10/2018 Fiscal Year 2020 Budget Request Summary Page:         SFY-2020 Budget
  Q                  MDCPS                                                 Request
          11/13/2018 Correspondence from Marcia Lowry to Kenya             11/13/18 Notice
  R
                     Rachal; Re: Notice of Non-Compliance
  S       11/15/2018 2018 Continuous Quality Improvement Plan -            2018 CQI Plan
  T       11/27/2018 Deposition of Taylor Cheeseman; page 48               Cheeseman Dep.
  U       11/28/2018 Deposition of Kristi Plotner; pages 24-25             Plotner Dep.
  V       11/28/2018 Deposition of Cindy Greer; pages 10, 17-18            Greer Dep.
          11/28/2018 Deposition of Tracy Malone; pages 4, 33-36, 39-       Malone Dep.
  W
                     41
          11/29/2018 Deposition of Jess H. Dickinson; pages 59, 140-       Dickinson Dep.
  X
                     143
          04/16/2019 House Bill No. 1652(As Sent to Governor): An          SFY-2020
                     Act Making An Appropriation to the Department         Appropriation
  Y
                     of Human Services; and for Related Purposes, For
                     the Fiscal Year 2020
          06/11/2019 Progress ofthe Mississippi Department of Child        2018 Monitor's
  Z                  Protection Services; Monitoring Report for 2nd        Report
                     Modified Mississippi Settlement Agreement
          07/02/2019 Memo from Taylor Cheeseman to Shannon                 7/2/19 Cheeseman
  AA
                     Rushton re increased hiring                           Memo
          07/00/2019 Safe At Home 5-Year Strategic Improvement Plan        5-Year Strategic
  AB
                                                                           Plan
  AC      09/03/2019   Affidavit of Kris Jones                             Jones Aff.
  AD      09/03/2019   Affidavit of Tonya Rogillio                         Rogillio Aff.
  AE      09/03/2019   Affidavit of Jaworski Davenport                     Davenport Aff.
  AF      09/03/2019   Affidavit of Jess Dickinson                         Dickinson Aff.
